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            Exhibit 7
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                                                                             Page 1
 1
 2   UNITED STATES DISTRICT COURT
     SOUTHERN DISTRICT OF NEW YORK
 3    - - - - - - - - - - - - - - - -x
     STEVEN E. GREER, MD
 4   an individual,
 5                           Plaintiff,
 6              -against-
 7   Dennis Mehiel, an individual, Robert
     Serpico, an individual, The Battery Park
 8   City Authority, a New York State authority,
     Howard Milstein, an individual, Steven
 9   Rossi, an individual, Janet Martin, an
     individual, Milford Management, a New York
10   Corporation, and Mariners Cove Site B
     Associates, a New York corporation.
11
                                                     Defendants.
12
      - - - - - - - - - - - - - - - -x
13
14
                       CONFIDENTIAL
15
16
17   DEPOSITION OF ROBERT MICHAEL SERPICO
     New York, New York
18   March 21, 2017
19
20
21
22
23
     Reported by:
24   Pessi Goldstein
     JOB NO. 121382
25


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                                                                             Page 2
 1

 2                                           March 21, 2017
                                             10:27 a.m.
 3

 4

 5          DEPOSITION of ROBERT MICHAEL SERPICO,
 6   a Defendant herein, held at the United
 7   States District Court, Southern District of
 8   New York, 500 Pearl Street, New York, NY
 9   10007, taken before Pessi Goldstein, a
10   shorthand reporter and Notary Public within
11   and for the State of New York.
12

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                                                                             Page 3
 1
 2   A P P E A R A N C E S:
 3
 4          STEVEN E. GREER, MD
                 Plaintiff Pro Se
 5
 6
 7          SHER TREMONTE
                 Attorneys for Defendants
 8               Robert Michael Serpico
                 Battery Park City Authority
 9               80 Broad Street
                 New York, NY 10004
10          BY: MICHAEL TREMONTE, ESQ.
                 MICHAEL GIBALDI, ESQ.
11
12
            ROSENBERG & ESTIS
13               Attorneys for
                 Remaining Defendants
14               733 Third Avenue
                 New York, NY 10017
15          BY: DEBORAH RIEGEL, ESQ.
16
17   ALSO PRESENT:
                         ALIX S. PUSTILNIK
18                     General Counsel for BPCA
19
                            *           *            *
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                                                                             Page 4
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 2

 3                     S T I P U L A T I O N S
 4

 5                  IT IS HEREBY STIPULATED AND
 6   AGREED by and between the attorneys for the
 7   respective parties herein, that filing,
 8   sealing and certification be and the same
 9   are hereby waived.
10                  IT IS FURTHER STIPULATED AND
11   AGREED that all objections, except as to the
12   form of the question shall be reserved to
13   the time of the trial.
14                  IT IS FURTHER STIPULATED AND
15   AGREED that the within deposition may be
16   signed before any Notary Public with the
17   same force and effect as if signed and sworn
18   to before the Court.
19

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                                                                         Page 34
 1          ROBERT M. SERPICO - CONFIDENTIAL
 2          so the notion that it was ruled not
 3          permissible by discovery is completely
 4          impossible.           This is a new document
 5          that just arose.
 6                  Okay.       So, we'll take that up
 7          with the judge, okay.
 8          Q.      Now, have you ever had personal
 9   meetings with Steve Rossi in the
10   neighborhood, in the nature of coffee, let's
11   grab coffee, that sort of thing?
12                  MR. TREMONTE:              Objection to form.
13          A.      Yes.
14          Q.      How many times in the last three
15   years do you estimate you've met Steve Rossi
16   in person?
17          A.      I don't know a count but I would
18   average, on an average maybe once every four
19   months or so, thereabouts, sometimes it was
20   back-to-back, then we wouldn't see each
21   other for months.            I would say average about
22   once every four months or so.
23          Q.      And those meetings have been
24   going on for how many decades?
25                  MR. TREMONTE:              Objection.

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                                                                          Page 35
 1           ROBERT M. SERPICO - CONFIDENTIAL
 2           A.     Steve and I know each other for a
 3   long time so we have been meeting regularly
 4   for a long time, decades, I don't know if it
 5   goes back to the '80s but --
 6           Q.     Were you present --
 7                  MR. TREMONTE:              Please let the
 8           witness finish his testimony.
 9           Q.     Was he present for your 2016
10   going away party at Pier A?
11                  MR. TREMONTE:              Objection to form.
12           A.     I don't remember seeing him.                     If
13   he showed up, it was for a brief moment but
14   I don't remember seeing him that night.
15   Maybe he was, I couldn't, I forget, I don't
16   know.
17           Q.     Did you take a photograph with
18   him with your arm around him?
19                  MR. TREMONTE:              Objection.
20           A.     If he was there, chances are,
21   yes.
22                  MR. TREMONTE:              Hold on, you've
23           got to let me make my objection.                       You
24           are getting perilously close to being
25           beyond the scope of permissible

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                                                                         Page 39
 1           ROBERT M. SERPICO - CONFIDENTIAL
 2   actual nitty-gritty making a decision, there
 3   were some concerns internally.
 4           Q.     And what were those concerns?
 5           A.     The concerns, my understanding of
 6   the concerns internally were that you were
 7   abusive to intern staffs and you were
 8   intimidating and you were using bad language
 9   and ad hominem attacks and you were abusing
10   staff when you called in and didn't get the
11   answers you want.            So that was a concern I
12   know internally and that may have fostered
13   the decision.
14           Q.     Do you have any voicemail or
15   audio recordings of that alleged behavior of
16   mine?
17                  MR. TREMONTE:              Objection to form.
18           A.     No, but I have firsthand
19   knowledge, I mean Seema Singh, I work
20   closely with her, she was senior counsel,
21   and Seema Singh was acting general counsel
22   at one point.        And right after she got off
23   the phone with you, I was with her and she
24   was visibly upset because you had called her
25   a word I won't even use, in language, but it

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                                                                         Page 40
 1          ROBERT M. SERPICO - CONFIDENTIAL
 2   began with a C and end with a T, and it was
 3   extremely disparaging and extremely
 4   upsetting to her as a female attorney and
 5   that was typical of language used with other
 6   staff at the Authority so --
 7          Q.      And this is based on testimony
 8   but you don't have any --
 9          A.      Right, when she hung up the phone
10   she was visibly upset, yes.
11                  MR. TREMONTE:              Hold on, hold on.
12          Objection, number one, you have to let
13          the witness answer the question you put
14          to him.       And number two, to the extent
15          that you are making comments that are
16          not questions about his testimony, I
17          would move to strike those as
18          superfluous and harassing.
19          Q.      On July 29 of 2015, you had a
20   public board meeting.               I was once again not
21   allowed in and I was sent to what I best,
22   they described as a video overflow room down
23   at 21 West Thames or where the old PEP
24   offices were.        Are you aware of, when I use
25   the word "video overflow room," and so

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